     3:22-bk-70129 Doc#: 17 Filed: 02/25/22 Entered: 02/25/22 14:12:24 Page 1 of 2


      IN THE UNITED STATES BANKRUPTCY COURT
           WESTERN DISTRICT OF ARKANSAS
In re:: Billy G. Scallorn                                                 Case No.: 3:22-bk-70129
Debtor                                                                                  Chapter 13


             MOTION TO EXTEND THE AUTOMATIC STAY
         COMES NOW Billy G. Scallorn ("Debtor"), by and through his attorney, Matthew D.

Mentgen, and for this Motion to Extend the Automatic Stay, states:

1.       Debtor filed the instant cause of action. This is a core proceeding.4:20-bk-11088

2.       Debtor was a debtor in bankruptcy case 3:21-bk-71598 filed in the Western District of

         Arkansas on November 11, 2021. This case was dismissed on January 18, 2022 for failure

         to Timely Pay Filing Fee.     Consequently, 11 U.S.C. 362(c)(3)(A) applies and the

         automatic stay will terminate with respect to the Debtors on the 30th day after the filing

         of this case.

3.       To facilitate an orderly and successful reorganization, Debtors seek an extension of

         the automatic stay as to all creditors until Debtors receive a discharge or this Court

         orders otherwise.

4.       Debtors' previous case was dismissed due to failure to pay filing fee. Debtor has had a

         difficult time gathering the required documentation to complete his schedules and plan due

         to many of the records being in his ex-wife's possession. Additionally, Debtor's home

         burned in December 2021 destroying additional documentation. Further, during this time

         Debtor was unclear on the timeline to pay his filing fee.

5.       Debtor has worked hard to gather and restore the required documentation necessary to

         complete his bankruptcy schedules and will be submitting them shortly to the court.

         Further, Debtor's business income and asset sales will be sufficient to make the

         required payments to the trustee. Futher, Debtor will be paying his filing fee in full

         by March 15, 2022. Therefore, Debtor is likely tto successfully complete this Chapter
    3:22-bk-70129 Doc#: 17 Filed: 02/25/22 Entered: 02/25/22 14:12:24 Page 2 of 2


In re: Billy G. Scallorn                                                Case No.: 3:22-bk-70129

        Further, Debtor's business income and asset sales will be sufficient to make the required

payments to the trustee. Futher, Debtor will be paying his filing fee in full by March 15, 2022.

Therefore, Debtor is likely to successfully complete this Chapter 13 reorganization.

        WHEREFORE, Debtor Billy G. Scallorn prays that this Court grant his Motion to

Extend the Automatic Stay to all creditors.


                                                              Respectfully submitted,

                                                              /s/ Matthew D. Mentgen
                                                              Matthew D. Mentgen 2008096
                                                              Attorney for Debtors
                                                              PO Box 164439
                                                              Little Rock, AR 72216
                                                              (501) 392-5662




D
